Case: 1:17-md-02804-DAP Doc #: 2373-25 Filed: 08/14/19 1 of 3. PageID #: 388312




                EXHIBIT 50
        Case: 1:17-md-02804-DAP Doc #: 2373-25 Filed: 08/14/19 2 of 3. PageID #: 388313
                                                                                                         M~KESSON




        To:              Sales Associates
        What:            Script & Talking Points Regarding RETAIL Controlled Substance Threshold Inquiries or
                         Threshold Changes Being Made


        Background
        •  As a pharmaceutical distributor, McKesson has the responsibility for helping to prevent
           pharmaceutical controlled substances from being diverted for nonmedical or other illegal purposes.
        * Distributors are obligated to design and operate a system to detect and report suspicious orders.
           Suspicious orders include orders of unusual size, orders deviating substantially from normal
           patterns, and orders of unusual frequency.

        If a customer calls with questions regarding an OMIT for controlled substances or about changes to
        our program, the following information is being provided.
        •     The script is intended for verbal discussions with customers only; do NOT share this
              document with customers in written form
        •     Customer calls because they received a controlled substance OMIT and they want to find out if
              they have reached their monthly threshold.
        •     If you are getting an OMIT, it means you've reached your monthly threshold.


        •     Customer asks if we have changed their threshold.
                 o   As a part of our controlled substance monitoring program, we have and will continue to
                     conduct reviews and make programmatic changes based on statistical, regional, geographic
                     purchasing profiles.
                 o   We have implemented a more sophisticated data analyses process to set thresholds for our
                     customers. We are analyzing our own sales data to identify average pharmacy purchase
                     profiles on a regional basis. This means that thresholds are being established based on our
                     customers, our distribution data and the geographical markets we serve.
                 o   I do not know if your specific threshold has been changed, but I do know that we are not
                     communicating thresholds or providing threshold warning reports.
                 o   The statistical analysis is structured to be dynamic, not static, as purchasing patterns and
                     diversion trends change.
        •     Customer requests to know their exact monthly threshold limit.
                 o   We are not communicating specific thresholds or providing threshold warning reports. We
                     believe this is a better practice. Thresholds are not intended to allow customers to manage
                     against a number. We strongly believe that customers should exercise their corresponding
                     responsibility 1 one prescription at a time. Prescription drug abuse is an epidemic, and we all
                     must do our part to fight this nationwide problem.


        1
         See customer education material referenced in resource section at end of this document for details
        regarding a pharmacy's corresponding responsibility




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        Case: 1:17-md-02804-DAP Doc #: 2373-25 Filed: 08/14/19 3 of 3. PageID #: 388314
                                                                                                       M~KESSON



        •   Customer requests a threshold increase.
                o    We are not routinely making any customer -requested threshold changes. As indicated,
                     thresholds are being set based on data analysis done on our customers, our distribution
                     data and the geographic markets that we serve.
                [If customer indicates need for an increase]
                o    If you believe you do not fit the average profile or have a circumstance for threshold
                     consideration, I will need you to provide me factual details regarding your pharmacy
                     business model, specific circumstances, and supporting evidence of your need for this
                     specific request. Please submit this information to me and I will forward it for regulatory
                     compliance review. Please be aware, however, that we may require additional information
                     from you in order to complete our review of this request.
        Resources:
                o    For additional information on industry trends and background materials, please reference
                     the following resources that can be found on FETCH:
                     https ://www.gosavo.com/fetch/Custom Page/View. aspx ?i d=l 95028 l&srl id=21968783&sri sp
                     rm=False&sritidx=O&srpgidx=O&srpgsz=l
                o    Controlled Substances Sales Overview, August 2013
                o    McKesson customer educational piece, August 2013
                o    Other controlled substance reference materials:
                         •   Code offederal regulation that pertains to a pharmacist's corresponding
                             responsibility

                         •   DEA presentation

                         •   NSDU - 2011 National Survey on Drug Abuse and Health: Mental Heath Findings

                         •   NIH- revised Dec 2012 - National Institute on Drug Abuse Report

                         •   AZ Bests practices

        Websites:
                •    www.drugabuse.gov
                •    http://www. deadiversion. usdoj.gov/
                •    www.whitehouse.gov/ondcp
                •    www.cdc.gov

                •    http://www.samhsa.gov/data/NSDUH/2k11MH_FindingsandDetTables/lndex.aspx
                •    www.DEAChronicles.com
                •    www.GetSmartAboutDrugs.com
                •    www.JustThinkTwice.com




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